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           20MAG12898
DOCKET No. _____________________________                                        Jamarri Reid
                                                                      DEFENDANT _______________________________________


      Christopher Clore
AUSA ___________________________________                                             Megan Wolfe Benett
                                                                      DEF.’S COUNSEL ___________________________________
                                                                       RETAINED      FEDERAL DEFENDERS   ✔ CJA   PRESENTMENT ONLY
   _____________________ INTERPRETER NEEDED
                                                                                   DEFENDANT WAIVES PRETRIAL REPORT

✔ Rule 5          Rule 9        Rule 5(c)(3)      Detention Hrg.                        12/02/2020
                                                                         DATE OF ARREST ________________            VOL. SURR.
                                                                                        9 a.m.
                                                                         TIME OF ARREST ________________         ✔ ON WRIT
           None
   Other: ________________________________________                                             6:30 p.m.
                                                                         TIME OF PRESENTMENT __________


                                                             BAIL DISPOSITION
                                                                                                                    SEE SEP. ORDER
✔ DETENTION ON CONSENT W/O PREJUDICE         ✔ DETENTION: RISK OF FLIGHT/DANGER ✔ SEE TRANSCRIPT
  DETENTION HEARING SCHEDULED FOR: ________________________
  AGREED CONDITIONS OF RELEASE
  DEF. RELEASED ON OWN RECOGNIZANCE
  $_______________ PRB   ________FRP
  SECURED BY $_______________ CASH/PROPERTY: __________________________________________________________
  TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
  TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
  SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

   PRETRIAL SUPERVISION:    REGULAR         STRICT    AS DIRECTED BY PRETRIAL SERVICES
   DRUG TESTING/TREATMT AS DIRECTED BY PTS        MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
   DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

   HOME INCARCERATION        HOME DETENTION      CURFEW       ELECTRONIC MONITORING     GPS
   DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

   DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]     DEF. TO CONTINUE OR START EDUCATION PROGRAM
   DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
  DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

- D consented to telephonic proceeding after consultation with counsel; video not reasonably available
- Gov't demonstrated danger to community by clear and convincing evidence; detention without prejudice for application
for temporary release pursuant to 18 USC 3142(i) due to medical condition/COVID




   DEF. ARRAIGNED; PLEADS NOT GUILTY                          CONFERENCE BEFORE D.J. ON _______________
   DEF. WAIVES INDICTMENT
   SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________

For Rule 5(c)(3) Cases:
   IDENTITY HEARING WAIVED                                            DEFENDANT TO BE REMOVED
   PRELIMINARY HEARING IN SDNY WAIVED                                 CONTROL DATE FOR REMOVAL: _______________


                          12/31/2020
PRELIMINARY HEARING DATE: ________________                           ✔ ON DEFENDANT’S CONSENT


      12/02/2020
DATE: ______________________                                                 __________________________________________________
                                                                             UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
WHITE (original) – COURT FILE        PINK – U.S. ATTORNEY’S OFFICE        YELLOW – U.S. MARSHAL    GREEN – PRETRIAL SERVICES AGENCY
Rev’d 2016
